            Case 8:23-ap-01046-SC Doc Filed 06/24/23 Entered 06/24/23 21:15:57                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 22, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 24, 2023:
Recip ID                  Recipient Name and Address
db                      + The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 24, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 22, 2023 at the address(es) listed below:
Name                               Email Address
Alan Craig Hochheiser
                                   on behalf of Creditor City Capital NY ahochheiser@mauricewutscher.com arodriguez@mauricewutscher.com

Alan I Nahmias
                                   on behalf of Interested Party Courtesy NEF anahmias@mbn.law jdale@mbnlawyers.com

Andrew Still
                                   on behalf of Interested Party Courtesy NEF astill@swlaw.com kcollins@swlaw.com

Byron Z Moldo
                                   on behalf of Interested Party Byron Moldo bmoldo@ecjlaw.com amatsuoka@ecjlaw.com,dperez@ecjlaw.com

Christopher Celentino
                                   on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                   on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com
               Case 8:23-ap-01046-SC Doc Filed 06/24/23 Entered 06/24/23 21:15:57                                             Desc
                                  Imaged Certificate of Notice Page 2 of 5
District/off: 0973-8                                        User: admin                                                        Page 2 of 3
Date Rcvd: Jun 22, 2023                                     Form ID: pdf042                                                   Total Noticed: 1
Christopher Ghio
                          on behalf of Plaintiff Richard A. Marshack christopher.ghio@dinsmore.com

Christopher J Langley
                          on behalf of Interested Party Courtesy NEF chris@slclawoffice.com
                          omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

D Edward Hays
                          on behalf of Trustee Richard A Marshack (TR) ehays@marshackhays.com
                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
                          on behalf of Interested Party Courtesy NEF ehays@marshackhays.com
                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Daniel A Lev
                          on behalf of Interested Party Courtesy NEF daniel.lev@gmlaw.com cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

David S Kupetz
                          on behalf of Interested Party Courtesy NEF David.Kupetz@lockelord.com mylene.ruiz@lockelord.com

Douglas A Plazak
                          on behalf of Defendant Greyson Law Center PC dplazak@rhlaw.com

Eric Bensamochan
                          on behalf of Interested Party Eric Bensamochan eric@eblawfirm.us G63723@notify.cincompass.com

Garrick A Hollander
                          on behalf of Creditor Debt Validation Fund II LLC ghollander@wghlawyers.com,
                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander
                          on behalf of Creditor MC DVI Fund 1 LLC ghollander@wghlawyers.com,
                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander
                          on behalf of Creditor MC DVI Fund 2 LLC ghollander@wghlawyers.com,
                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Gregory M Salvato
                          on behalf of Interested Party Courtesy NEF gsalvato@salvatoboufadel.com
                          calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

Ira David Kharasch
                          on behalf of Interested Party Courtesy NEF ikharasch@pszjlaw.com

Johnny White
                          on behalf of Interested Party Courtesy NEF JWhite@wrslawyers.com jlee@wrslawyers.com;eweiman@wrslawyers.com

Jonathan Serrano
                          on behalf of Trustee Richard A Marshack (TR) jonathan.serrano@dinsmore.com

Joon M Khang
                          on behalf of Debtor The Litigation Practice Group P.C. joon@khanglaw.com

Kenneth Misken
                          on behalf of U.S. Trustee United States Trustee (SA) Kenneth.M.Misken@usdoj.gov

Laila Masud
                          on behalf of Trustee Richard A Marshack (TR) lmasud@marshackhays.com
                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                          on behalf of Interested Party Richard A. Marshack lmasud@marshackhays.com
                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                          on behalf of Plaintiff Richard Marshack lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                          on behalf of Interested Party Courtesy NEF lmasud@marshackhays.com
                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Leslie Skorheim
                          on behalf of U.S. Trustee United States Trustee (SA) leslie.skorheim@usdoj.gov

Michael D Lieberman
                          on behalf of Creditor Phillip A. Greenblatt PLLC mlieberman@lipsonneilson.com

Olivia Scott
                          on behalf of Creditor Azzure Capital LLC olivia.scott3@bclplaw.com

Olivia Scott
            Case 8:23-ap-01046-SC Doc Filed 06/24/23 Entered 06/24/23 21:15:57                                                     Desc
                               Imaged Certificate of Notice Page 3 of 5
District/off: 0973-8                                          User: admin                                                           Page 3 of 3
Date Rcvd: Jun 22, 2023                                       Form ID: pdf042                                                      Total Noticed: 1
                             on behalf of Creditor Hi Bar Capital LLC olivia.scott3@bclplaw.com

Paul R Shankman
                             on behalf of Creditor United Partnerships LLC PShankman@fortislaw.com, info@fortislaw.com

Paul R Shankman
                             on behalf of Attorney Paul R. Shankman PShankman@fortislaw.com info@fortislaw.com

Queenie K Ng
                             on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov

Randall Baldwin Clark
                             on behalf of Interested Party Randall Baldwin Clark rbc@randallbclark.com

Richard A Marshack (TR)
                             pkraus@marshackhays.com rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

Richard H Golubow
                             on behalf of Creditor Debt Validation Fund II LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 2 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 1 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Ronald K Brown
                             on behalf of Creditor SDCO Tustin Executive Center Inc. ron@rkbrownlaw.com

Ronald N Richards
                             on behalf of Interested Party Courtesy NEF ron@ronaldrichards.com 7206828420@filings.docketbird.com

Ronald N Richards
                             on behalf of Defendant Consumer Legal Group PC ron@ronaldrichards.com, 7206828420@filings.docketbird.com

Sharon Z. Weiss
                             on behalf of Creditor Azzure Capital LLC sharon.weiss@bclplaw.com
                             raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

Sharon Z. Weiss
                             on behalf of Creditor Hi Bar Capital LLC sharon.weiss@bclplaw.com
                             raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

Shawn M Christianson
                             on behalf of Interested Party Courtesy NEF cmcintire@buchalter.com schristianson@buchalter.com

Teri T Pham
                             on behalf of Attorney Teri Pham tpham@enensteinlaw.com 3135.002@enensteinlaw.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Victoria Newmark
                             on behalf of Interested Party Courtesy NEF vnewmark@pszjlaw.com


TOTAL: 48
     Case 8:23-ap-01046-SC Doc Filed 06/24/23 Entered 06/24/23 21:15:57                                 Desc
                        Imaged Certificate of Notice Page 4 of 5


1
2
                                                                      FILED & ENTERED
3
4                                                                           JUN 22 2023
5
                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
6                                                                      BY bolte      DEPUTY CLERK


7
8
                             UNITED STATES BANKRUPTCY COURT
9
                               CENTRAL DISTRICT OF CALIFORNIA
10
                                       SANTA ANA DIVISION
11
12
13   In re:                                         Case No.: 8:23-bk-10571-SC
14   The Litigation Practice Group P.C.             CHAPTER 11
15                                                  SUA SPONTE REQUEST FOR STATUS
                                                    REPORTS TO BE FILED BY (1) THE
16                                                  CHAPTER 11 TRUSTEE AND (2) THE
                                                    UNITED STATES TRUSTEE BY 5:00 PM
17                                                  PACIFIC TIME, ON JUNE 23, 2023
18                                    Debtor(s).

19
20
              The Court continues to review the docket and pleadings, and further continues to
21
     review the arguments, statements, testimony and other evidence and proffers of
22
     evidence made by both the Chapter 11 Trustee and the United States Trustee (together
23
     WKH³7UXVWHHV´ on the Court record in various hearings. By this Order, the Court
24
     respectfully requests that Trustees prepare brief individual status reports on the
25
     following matters:
26
              1.    Understanding that the Chapter 11 Trustee is receiving information on the
27
                    case on a day-by-day, perhaps hour-by-hour, basis, the Chapter 11
28
                    Trustee is to provide a report updating the information contained in the




                                                   -1-
     Case 8:23-ap-01046-SC Doc Filed 06/24/23 Entered 06/24/23 21:15:57                          Desc
                        Imaged Certificate of Notice Page 5 of 5


1                 Complaint (Docket 93 of the Main Case). In particular, the General
2                 Allegations contained in Section B, paragraphs 44 through 47 (LPG's
3                 Ownership and Management) and Section C, paragraphs 48 through 52
4                 (LPG's Business Structure), inclusive, should be updated.
5         2.      The United States Trustee is to report its intentions to appoint a committee
6                 to represent the interests of the clients/customers of the Debtor.
7
8         IT IS SO ORDERED.
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25       Date: June 22, 2023

26
27
28




                                                -2-
